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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

REBECCA NEWTON,

        Plaintiff,                                            CASE NO.8:14-cv-02128-SDM-EAJ

v.

GENESIS BANKCARD
SERVICES, INC.,

      Defendant.
_____________________________________/

                                   AMENDED COMPLAINT

        COMES NOW the Plaintiff, REBECCA NEWTON (“Plaintiff”), by and through the

undersigned attorneys, KROHN & MOSS, LTD., and for Plaintiff’s Complaint against

Defendant, GENESIS BANKCARD SERVICES, INC. (“Defendant”), alleges and affirmatively

states as follows:

                                        INTRODUCTION

     1. Count I of Plaintiff’s Complaint alleges that Defendant negligently, knowingly and/or

        willfully violated the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.

        (TCPA).

                                 JURISDICTION AND VENUE
     2. Jurisdiction of this court arises pursuant to 28 U.S.C. 1331.

     3. Because Defendant conducts business in the State of Florida personal jurisdiction is

        established.

     4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).




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                                           PARTIES
 5. Plaintiff is a natural person who resides in Lutz, Hillsborough County, Florida.

 6. Defendant is a business entity with its principal place of business in Torrance, California.

 7. Defendant acted through its agents, employees, officers, members, directors, heirs,

    successors, assigns, principals, trustees, sureties, subrogees, representatives, and

    insurers.
                                 FACTUAL ALLEGATIONS

 8. Defendant places collection calls to Plaintiff seeking and attempting to collect an alleged

    debt owed by her ex-husband.

 9. Upon information and belief, Plaintiff does not owe the debt Defendant is attempting to

    collect.

 10. Defendant places collection calls to Plaintiff’s cellular telephone at phone number (813)

    965-65XX.

 11. Defendant places collection calls to Plaintiff from phone numbers including, but not

    limited to, 866-450-6882.

 12. Per its prior business practices, Defendant’s calls were placed with an automated dialing

    system (“auto-dialer”).

 13. Plaintiff never provided Defendant with any of her contact information, including her

    cellular telephone number.

 14. Plaintiff never consented, explicitly or implicitly, to receive automated collection calls

    from Defendant.

 15. Defendant placed at least two hundred and sixty (260) automated calls to Plaintiff

    without consent to do so, including but not limited to the following:

        •      March 18, 2014: three (3) calls;



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       •   March 19, 2014: five (5) calls;

       •   March 20, 2014: five (5) calls;

       •   March 21, 2014: three (3) calls;

       •   April 2, 2014: two (2) calls;

       •   April 3, 2014: four (4) calls;

       •   April 4, 2014: three (3) calls;

       •   April 5, 2014: one (1) call;

       •   April 7, 2014: four (4) calls;

       •   April 9, 2014: five (5) calls;

       •   April 10, 2014: five (5) calls;

       •   April 11, 2014: one (1) call

       •   May 20, 2014: five (5) calls;

       •   May 21, 2014: five (5) calls;

       •   May 23, 2014: three (3) calls;

       •   May 26, 2014: two (2) calls;

       •   May 27, 2014: five (5) calls;

       •   May 28, 2014: five (5) calls;

       •   May 29, 2014: five (5) calls;

       •   May 30, 2014: five (5) calls;

       •   June 2, 2014: four (4) calls;

       •   June 6, 2014: four (4) calls;

       •   June 9, 2014: two (2) calls;

       •   June 10, 2014: three (3) calls;


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       •   June 11, 2014: four (4) calls;

       •   June 12, 2014: five (5) calls;

       •   June 13, 2014: one (1) call;

       •   June 16, 2014: five (5) calls;

       •   June 17, 2014: five (5) calls;

       •   June 18, 2014: three (3) calls;

       •   June 19, 2014: three (3) calls;

       •   June 20, 2014: four (4) calls;

       •   June 23, 2014: one (1) call;

       •   June 24, 2014: five (5) calls;

       •   June 26, 2014: four (4) calls;

       •   June 27, 2014: three (3) calls;

       •   June 30, 2014: four (4) calls;

       •   July 1, 2014: two (2) calls;

       •   July 2, 2014: five (5) calls;

       •   July 3, 2014: three (3) calls;

       •   July 4, 2014: one (1) call;

       •   July 7, 2014: one (1) call;

       •   July 8, 2014: five (5) calls;

       •   July 9, 2014: six (6) calls;

       •   July 10, 2014: five (5) calls;

       •   July 11, 2014: four (4) calls;

       •   July 15, 2014: two(2) calls;


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       •   July 17, 2014: four (4) calls;

       •   July 18, 2014: four (4) calls;

       •   July 19, 2014: three (3) calls;

       •   July 21, 2014: three (3) calls;

       •   July 22, 2014: five (5) calls;

       •   July 24, 2014: three(3) calls;

       •   July 25, 2014: five (5) calls;

       •   July 26, 2014: two (2) calls;

       •   July 28, 2014: five (5) calls;

       •   July 31, 2014: four (4) calls;

       •   August 1, 2014: five (5) calls;

       •   August 4, 2014: four (4) calls;

       •   August 5, 2014: four (4) calls;

       •   August 7, 2014: five (5) calls;

       •   August 11, 2014: five (5) calls;

       •   August 12, 2014: five (5) calls;

       •   August 13, 2014: five (5) calls;

       •   August 14, 2014: two (2) calls;

       •   August 15, 2014: three (3) calls

       •   August 18, 2014: three (3) calls;

       •   August 19, 2014: four (4) calls

       •   August 21, 2014: five (5) calls;

       •   August 22, 2014: four (4) calls;


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        •   August 25, 2014: three (3) calls;

        •   August 26, 2014: three (3) calls;

        •   August 27, 2014: four (4) calls;

        •   August 28, 2014: three (3) calls;

        •   August 29, 2014: three (3) calls;

        •   September 1, 2014: one (1) call;

        •   September 3, 2014: four (4) calls;

        •   September 4, 2014: four (4) calls;

        •   September 5, 2014: two (2) calls;

        •   September 8, 2014: two (2) calls;

        •   September 9, 2014: two (2) calls;

        •   September 10, 2014: two (2) calls;

        •   September 12, 2014: two (2) calls;

        •   September 15, 2014: one (1) call

                          COUNT I
 DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT

 16. Defendant’s actions alleged supra constitute numerous negligent violations of the TCPA,

    entitling Plaintiff to an award of $500.00 in statutory damages for each and every

    violation pursuant to 47 U.S.C. § 227(b)(3)(B).

 17. Defendant’s actions alleged supra constitute numerous and multiple knowing and/or

    willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory

    damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47

    U.S.C. § 227(b)(3)(C).

    WHEREFORE, Plaintiff respectfully prays that judgment be entered against the


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Defendant for the following:

   18. Statutory damages of $500.00 for each and every negligent violation of the TCPA

       pursuant to 47 U.S.C. § (b)(3)(B);

   19. Statutory damages of $1500.00 for each and every knowing and/or willful violation of

       the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);

   20. All court costs, witness fees and other fees incurred; and

   21. Any other relief that this Honorable Court deems appropriate.




                                             RESPECTFULLY SUBMITTED,

                                               By: _/s/ Shireen Hormozdi____________
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